                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                       3:07cr154

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )                                   ORDER
                                         )
KATHLEEN GIACOBBE (2)                    )
________________________________________ )


       THIS MATTER is before the Court upon the defendant’s motion to modify the

conditions of her release. (Doc. No. 141).

       From information presented at a hearing on the motion on December 22, 2008, and a

review of the entire record in this case, the Court finds that the modification requested by the

defendant will reasonably assure the appearance of the defendant as required and will not

endanger the safety of any other person or the community.

       IT IS, THEREFORE, ORDERED that the previously imposed home confinement

condition is replaced with a curfew between 10 p.m. and 6 a.m., enforced through electronic

monitoring. The defendant is restricted to her residence during that time period unless pre-

approved by the U.S. Probation Office.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the U.S.

Probation Office.
                                                  Signed: December 23, 2008




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